            Case 2:18-cv-05187-CJB-KWR Document 24-10 Filed 06/20/18 Page 1 of 6

Marcy LaHart
Subject:                   FW: 18-5187; Turnipseed v. APMT LLC
Attachments:               Dr Mahoney Letter.pdf; Discharge Instructions Seaside.pdf




From: Marcy LaHart [mailto:marcy@floridaanimallawyer.com]
Sent: Monday, June 11, 2018 12:13 PM
To: 'James C. Rather, Jr.'; 'shutton@sherrihuttonlaw.com'
Subject: RE: 18-5187; Turnipseed v. APMT LLC

Mr. Rather‐ Our client was involuntarily committed last week because of her deteriorated mental state. Please review
the attached and let me know if your client will reconsider its refusal to waive the weight restriction so that Ms.
Turnipseed may have the therapeutic benefit of residing with her dog Sasha for emotional support.

Marcy I LaHart PA
207 SE Tuscawilla Road
Micanopy, FL 32667
(352) 545‐7001
fax 888‐400‐1464
www.floridaanimallawyer.com




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                                                                                       Turnipseed, Dory        MR# 005488-01

   Seaside                                                                         l
                                                                                       ADM OT 06/03/18
                                                                                       DOB    0xxxxxxx              Sex F

                                  DISCHARGE INSTRUCTIONS                               PGM
                                                                                       INSR
                                                                                              100
                                                                                              BCBS
                                                                                                     IP Adult SBC (NOL)
                                                                                                           HIC#   SDQ3HZN115!!1

                                         MEDICATION LIST
PATIENT NAME: _____________                                 DATE OF BIRTH: ___________

                            MEDICATIONS PATIENT WAS TAKING ON ADMISSION
                                                                                          Indication for Medication
                                               Route                                    (Must be completed for each
    Medication Name
  ,· -
                              Dose        PO, Sub-C, Etc.     !_requency                         medication)

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                                                                                  ADM DT 06/03/18
                                                                                  DOB    xxxxxxx                  Sex   F

                                                                                  PGM     100  IP Adult SBC (NOL)
    PATIENT NAME: ________________
                                                                                  INSR    BCBS         HIC# SDQ3HZN11f6

                                    DISCHARGE INSTRUCTIONS                        Turnipseed, Dory           MR# 005488-01


                               MEDICATIONS THAT WERE ADDED AFTER ADMISSION
                                                 Route                       Indication for Medication (Must be
      Medication Na'me           Dose                         Frequency
                                            PO, Sub-C, Etc.                    completed for each medication)




(


                              MEDICATIONS THAT WERE DISCONTINUED DURING HOSPITAL STAY

                                                                                 Indication for Medication
                                                Route
      Medication Name            Dose                         Frequency        (Must be completed for each
                                            PO, Sub-C, Etc.                             medication)




          REVISED 6/14/2017                                                                                  2 of 4
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                                      vJc r Document 24-10 Filed 06/20/18 Page 5 of 6
                                                          --� L/ - �16                                                 ADM DT 06/03/18
                                                                                                                       DOB  xxxxxx            Sex F

    Seaside                                            �

                                               DISCHARGE INSTRUCTIONS
                                                                                                                       PGM 100 IP Adult SBC (NOL)
                                                                                                                       INSR BCBS       HIC# SDQ3HZN11�

                                                                                                                       Turnipseed. Dory         MR# 005488-01

                                         DISCHARGED MEDICATION LIST
                                 MEDICATIONS PATIENT 15 TAKING UPON DISCHARGE

                                                                                                                 Indication for Medication
                                                                Route            Frequency
              Medication Name             Dose                                                                 (Must be completed for each
                                                            PO, Sub-C, Etc.                                             medication)

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                                     Seaside
                                      Behavior al Center at St. Luke's




Re: Dory Turnipseed
DOB:



06/08/18



To Whom it May Concern,

         Ms. Turnipseed was in the hospital for acute depression and anxiety, which she struggles with
on a chronic basis. She has an emotional support dog which is essential to her emotional health and
daily functioning. Please consider allowing presence of her dog in her living arrangement.



Sincerely,



�D
Staff Psychiatrist




              (5011) 393-Li223 · (5011) 393-'i7Li7 Fax· 11201 Woodland Drive· New Orleans. LA 70131
